215 U.S. 595
    30 S.Ct. 410
    54 L.Ed. 341
    UNITED STATESv.TERMINAL RAILROAD ASSOCIATION OF ST. LOUIS et al.
    No. 597.
    Supreme Court of the United States
    January 31, 1910
    
      The Attorney General and the Solicitor General for the United States.
      No appearance for the Terminal R. R. Association et al.
      
        Per Curiam:
      
    
    
      1
      Certificate dismissed on the authority of Baltimore &amp; O. R. Co. v. Interstate Commerce Commission, 215 U. S. 216, 54 L. Ed. , 30 Sup. Ct. Rep. 86.
    
    